804 F.2d 678Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.David WILKINS, Plaintiff-Appellant,v.S.E. WEBB, Classification Counselor;  Elmanus Herndon,Deputy Commissioner;  Bernard Smith, Assistant Warden;William J. Kunkel, Chairman Md. Parole Commission and HowardLyles, Warden, Defendants-Appellees.
    No. 86-6621.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 29, 1986.Decided Nov. 4, 1986.
    
      David Wilkins, appellant pro se.
      Stephen Howard Sachs, J. Marks Moore, Glenn William Bell, for appellees.
      D.Md.
      AFFIRMED.
      Before WIDENER and SPROUSE, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Wilkins v. Webb, C/A No. 85-2860-N (D.Md., May 12, 1986).1
    
    
      2
      AFFIRMED.
    
    
      
        1
         The district court did not abuse its discretion in denying Wilkins' motion for leave to file a supplemental claim
      
    
    